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4
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     Attorney for Defendant
5
                              IN THE UNITED STATES DISTRICT COURT
6                                  FOR THE DISTRICT OF NEVADA
                                              -oOo-
7
      UNITED STATES OF AMERICA,                               Case No. 2:18-cr-00320-RFB-VCF
8
                              Plaintiff,            vs.                 Stipulation to Continue
9                                                                   Sentencing and Disposition Date
      RICHARD ANTHONY HERNANDEZ,
10
                             Defendant.
11
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A. Trutanich,
12
     United States Attorney, and Bianca R. Pucci, Esq., Assistant United States Attorney, counsel for the
13
     United States of America, and Joshua Tomsheck, Esq., counsel for Defendant counsel for Defendant
14
     Richard Anthony Hernandez, that the Sentencing and Disposition currently scheduled for January 14,
15
     2021 at 1:00p.m. be vacated for sixty (60) days or to a date and time to be set by this Honorable Court.
16
            This stipulation is entered into for the following reasons:
17          1. This is the first Sentencing and Disposition continuance request.
18          2. Defense Counsel has a scheduling conflict and will be unavailable for the currently

19              scheduled hearing.

20          3. The current conditions related to the ongoing COVID-19 pandemic have impacted the

21              ability for Defense counsel to visit and discuss various matters with the Defendant.

22          4. The Defendant is in custody and does not object to this continuance.

23          5. The Defendant will sign his waiver of in-person appearance.

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1           6. The parties agree to the continuance.

2           7. For the above stated reasons, the parties agree that a continuance of the Sentencing and

3              Disposition Date would best serve the ends of justice in this case.

4
            DATED this 11th day of January 2021.
5
     Respectfully submitted,
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7
     NICHOLAS A. TRUTANICH
     UNITED STATES ATTORNEY
8
     /s/_Bianca R. Pucci__________                         /s/ _Joshua Tomsheck___________
9    BIANCA R. PUCCI, ESQ.                                 JOSHUA TOMSHECK, ESQ.
     Assistant United States Attorney                      Attorney for Defendant
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1                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
2                                            -oOo-

3     UNITED STATES OF AMERICA,                             Case No. 2:18-cr-00320-RFB-VCF

4                            Plaintiff,           vs.
                                                                              ORDER
5     RICHARD ANTHONY HERNANDEZ,

6                           Defendant.

7            Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
     finds that:
8
            1. This is the first Sentencing and Disposition continuance request.
9           2. Defense Counsel has a scheduling conflict and will be unavailable for the currently
10             scheduled hearing.

11          3. The current conditions related to the ongoing COVID-19 pandemic have impacted the

12             ability for Defense counsel to visit and discuss various matters with the Defendant.

13          4. The Defendant is in custody and does not object to this continuance.

14          5. The Defendant will sign his waiver of in-person appearance.

15          6. The parties agree to the continuance.

16          7. For the above stated reasons, the parties agree that a continuance of the Sentencing and

17             Disposition Date would best serve the ends of justice in this case.

18          IT IS ORDERED that the Sentencing currently scheduled for January 14, 2021 at 1:00p.m., be

19   vacated and continued to    March 18                   , 2021 at 10:00     ___ xxx
                                                                                a.m/p.m.

20
            11th day of ________,
     DATED ____           January _______.
                                    2021
21

22
                                     _______________________________________
23                                       RICHARD F. BOULWARE, ii
                                         UNITED STATES DISTRICT JUDGE
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